Case 1:20-cv-03202-GBD-JW Document 47-3 Filed 12/20/21 Page 1 of 3




                  EXHIBIT B
Case 1:20-cv-03202-GBD-JW Document 47-3 Filed 12/20/21 Page 2 of 3
Case 1:20-cv-03202-GBD-JW Document 47-3 Filed 12/20/21 Page 3 of 3



  5.     I respectfully request that the Court permit me to appear as counsel pro hac vice in
         this case.



 Dated: December 17, 2021




                                              Respectfully submitted,




                                              Yvette Y. Chhguin
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                                              Education and Legal Services
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                                              San Antonio, TX 78201
                                              (210) 526-0042
                                              yvette.changuin@raicestexas.org
 SUBSCRIBED AND SWORN TO before me the undersigned notary public on this day
 17 of December 2021


                CRYSTLE FELICIA MEZA
         N o t a r y Public, State of Texas
        Comm.          Expires 10-06-2023            NOTARY PUBLIC,STATAOF TEXAS
       OF         Notary ID 130396249




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